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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 ANGELA SHARPLESS, on behalf of herself
 and all others similarly situated,

                             Plaintiff,                                 ORDER
        v.
                                                                     21-cv-816-jdp
 KI MOBILITY LLC,

                             Defendant.


       This is a class and collective action in which plaintiff Angela Sharpless contends that

defendant KI Mobility LLC violated the Fair Labor Standards Act (FLSA) and Wisconsin wage

law. The court previously preliminarily approved the parties’ settlement agreement, Dkt. 24,

and amendment to the settlement agreement, Dkt. 45. Having reviewed the parties’ Joint

Motion for Final Approval of Collective and Class Action Settlement, Dkt. 48; plaintiff’s

Unopposed Motion for Approval of Enhancement Payment, Dkt. 49; plaintiff’s Unopposed

Motion for Approval of Attorneys’ Fees and Costs, Dkt. 50; and the declarations filed in

support of these motions, and having held a fairness hearing regarding the same on September

28, 2023,

       IT IS ORDERED that:

       1. The parties’ Settlement Agreement, as amended, Dkts. 17-1 and 42-1, is
          APPROVED as fair, reasonable, and adequate pursuant to Fed. R. Civ. P. 23(e), and
          represents a fair and reasonable resolution of a bona fide dispute under the Fair
          Labor Standard Act of 1938, as amended (FLSA).

       2. The settlement agreement is binding on plaintiff, defendant, and all collective and
          class members.

       3. Plaintiff’s Unopposed Motion for Approval of Enhancement Payment is
          GRANTED, and plaintiff’s enhancement payment of $2,500.00 is APPROVED.
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4. Plaintiff’s Unopposed Motion for Approval of Attorneys’ Fees and Costs is
   GRANTED, and the court approves an award of attorneys’ fees and costs in the
   total amount of $43,102.18.

5. Payments to plaintiff, her counsel, and all members of the FLSA collective and Rule
   23 class are hereby authorized in accordance with the parties’ settlement agreement.

6. The federal claims pursuant to the FLSA of all class members who did not consent
   to join the litigation are hereby DISMISSED without prejudice.

7. The federal claims pursuant to the FLSA and state law claims pursuant to
   Wisconsin’s Wage Payment and Collective Laws of the class members who properly
   and timely excluded themselves in accordance with the procedures in the settlement
   agreement are DISMISSED without prejudice.

8. This matter is DISMISSED on the merits, without prejudice, and without further
   costs to either party. Upon satisfaction of the terms of the settlement agreement,
   defendant may move for dismissal with prejudice.

9. The clerk of court is directed to enter judgment in accordance with this order and
   close this case.

Entered September 29, 2023.

                                    BY THE COURT:

                                    /s/
                                    ________________________________
                                    JAMES D. PETERSON
                                    District Judge




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